                Case 1:16-mj-00121-IDD Document 5 Filed 03/22/16 Page 1 of 1 PageID# 7

AO 442 (Rev 01/00) Arrest Warrant



                                        United States District Cou^y
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                                                    Eastern District of Virginia                             MAR                 i
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                   United States of America                                                            &1 FXANDKia           .lib;
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                   Wiison Alfonso Overton                                  CaseNo. 1:16fi/5J121
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                                                    ARREST WARRANT                                             w     o                   trt
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To:        Any authorized law enforcement officer

           YOU ARE COMMANDED to arrest and bring before a United Slates magistrate judge without unnecessary delay
Uvtme ofpersonto bearrested) WilSOn AlfonsO Overton
who is accused of an offense or violation biised on the following document fiied with the court:

• Indictment             • Superseding Indictment        • Information        • Superseding Information              ^ Complaint
•     Probation Violation Petition       • Supervised Release Violation Petition        O Violation Notice • Order of the Court

This offense is briefly described as follows;
The defendant did forcibly assault, resist, oppose, impede, intimidate, or interfere with an officeror employee of the United
States Government while engaged in or on account of the performance of official duties. Such acts involved physical contact
with the victim and were done with the intent to commit another felony., in violation of Title 18 United States Code 111(a)(1)
and (b).


                                                                                                       /s/
                                                                                           John F. Anderson
Dale: March 16, 2016                                                               United Slates Magistrate Judge


City and state: Alexandria. Virginia
                                                                                            Primed name imd liik



                                                                Return

           This warrant was received on (daiej                      _ , and the person was arrested on (date)
at Mtyi'ids/aieJ



Date:
                                                                                         y]rres/ii:g officer's signature



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